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36678-1 TMP/JNK/ALS                                                      Monday, 29 April, 2019 01:40:53 PM
                                                                              Clerk, U.S. District Court, ILCD

                              IN THE UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF ILLINOIS
                                      SPRINGFIELD DIVISION

LARRY PIPPION, AS REPRESENTATIVE OF THE             )
ESTATE OF LARRY EARVIN,                             )
                                                    )
                Plaintiff,                          )
                                                    )
        v.                                          )          Law No. 19-cv-03010-SEM-TSH
                                                    )
WILLIE HEDDEN, BENJAMIN BURNETT, BLAKE              )
HAUBRICH, ALEX BANTA, CAMERON                       )
WATSON and STEVE SNYDER,                            )
                                                    )
                Defendants.                         )

                                         MOTION TO STAY

        NOW COMES Defendant WILLIE HEDDEN, by THERESA M. POWELL of HEYL, ROYSTER,

VOELKER & ALLEN, P.C., his attorneys, and for his Motion to Stay, states as follows:

        1.      The Plaintiff filed a cause of action on January 16, 2019, against numerous

defendants including Sgt. Willie Hedden.

        2.      The allegations in Plaintiff’s complaint relate to an occurrence which is alleged to

have taken place on May 17, 2018, at the Western Illinois Correctional Center.

        3.      Specifically, the Plaintiff alleges that Defendant Hedden violated the Plaintiff’s

civil rights and under Section 1983 in Counts I, II and III.

        4.      Plaintiff further alleges state law claims under Counts IV, V, VI, VII and VIII based

on the same facts.




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          5.     It is counsel’s understanding that the U.S. Attorney’s Office is conducting an

investigation concerning the incident which forms the basis of the civil claims for the purpose of

potentially bringing criminal charges against Defendant Hedden.

          6.     It is counsel’s understanding that included within the charges may be a claim for

intentional violation of the Plaintiff’s civil rights, a claim which mirrors the allegations in the civil

action.

          7.     Accordingly, Defendant prays that this Court would stay the pending civil action

in light of the ongoing federal criminal investigation and grand jury proceedings.

          8.     As Defendant Hedden’s counsel for any potential criminal charges has advised

Mr. Hedden to plead the fifth at this time, Defendant requests that this Court stay this matter in

its entirety to include staying all deadlines for filing an answer to the complaint, staying all

deadlines to answer any outstanding discovery and staying all discovery and potential trial

deadlines in light of the potential criminal proceedings.

          WHEREFORE, Defendant prays that this Court would grant Defendant’s motion to stay.

                                 DEFENDANT DEMANDS TRIAL BY JURY




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                                          Respectfully Submitted,

                                          WILLIE HEDDEN, Defendant

                                          s/ Theresa M. Powell
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                                          Jessica N. Klaus, IL ARDC #: 6315478
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                                      PROOF OF SERVICE

        I hereby certify that on April 29, 2019, I electronically filed the foregoing instrument,
MOTION TO STAY, with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

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                                                    s/ Theresa M. Powell
                                                                   Theresa M. Powell

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